
678 S.E.2d 235 (2009)
James J. COLLINS, Jr., Employee
v.
CITATION FOUNDRY d/b/a Foundry Service Company, Employer.
No. 129P09.
Supreme Court of North Carolina.
June 17, 2009.
M. Duane Jones, for Citation Foundry, et al.
Elizabeth S. Poisson, Wilmington, for Collins.

ORDER
Upon consideration of the petition filed on the 24th of March 2009 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
Denied by order of the Court in conference, this the 17th of June 2009.
